                                        1                                      Exhibit C
                                        2                             Lease Modification Agreements
                                        3                                      (attached)
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Two North Central Avenue, Suite 2200




                                       12
   Phoenix, Arizona 85004-4406




                                       13
          Bryan Cave LLP


          (602) 364-7000




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